         Case 1:18-cv-05792-PAE Document 127 Filed 10/20/20 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 AMERICAN COUNCIL OF THE BLIND OF
 NEW YORK, INC., MICHAEL GOLFO, and
 CHRISTINA CURRY, on behalf of themselves
 and all others similarly situated,
                                         Plaintiffs,
                        v.
 CITY OF NEW YORK, NEW YORK CITY
 DEPARTMENT OF TRANSPORTATION,                                            18 Civ. 5792 (PAE)
 BILL DE BLASIO, in his official capacity as
 Mayor of the City of New York, and POLLY                                        ORDER
 TROTTENBERG, in her official capacity as
 Commissioner of the New York City Department
 of Transportation,
                                        Defendants.



PAUL A. ENGELMAYER, District Judge:

       The Court today issued a decision granting in principal part plaintiffs’ motion for

summary judgment as to liability. The decision leaves in place those claims on which the Court

did not grant summary judgment, including some on which the Court authorized plaintiffs to file

a renewed motion for summary judgment as to liability.

       The Court’s intention is that this litigation move forward promptly towards completion,

both in (1) determining the remedy for the violations that have been established; and (2)

resolving plaintiffs’ open claims. The Court directs counsel to meet and confer, and to submit to

the Court, by Friday, October 30, 2020, a joint letter setting forth in detail the parties’ views as

to the next steps in, and future trajectory of, this case. The Court will then either issue an order

setting a schedule going forward or, if further explication is necessary, convene a prompt

conference with counsel.
       Case 1:18-cv-05792-PAE Document 127 Filed 10/20/20 Page 2 of 2




      SO ORDERED.


                                             PaJA.�
                                         __________________________________
                                               PAUL A. ENGELMAYER
                                               United States District Judge
Dated: October 20, 2020
       New York, New York




                                     2
